Case 4:17-cv-00454-GKF-JFJ   Document 159-9 Filed in USDC ND/OK on 10/12/18   Page 1
                                       of 5




                              Exhibit H
Case 4:17-cv-00454-GKF-JFJ          Document 159-9 Filed in USDC ND/OK on 10/12/18                  Page 2
                                              of 5



                                UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES, INC.,

                  Plaintiff,                                    CASE NO. 17-CV-00454-GKF-JFJ

          vs.

   CASTLE HILL STUDIOS LLC, et al.

                  Defendants.


                          DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                             SIXTH SET OF INTERROGATORIES

          Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

   Development LLC (together “Castle Hill”) submit these responses to Plaintiff’s Sixth Set of

   Interrogatories.

                                 OBJECTIONS TO DEFINITIONS

          1.      Defendants object to the definition of Castle Hill to the extent it seeks to impose

   obligations on Defendants beyond those required by the Federal Rules of Civil Procedure.

   Defendants specifically object to the inclusion of current and former personnel in that definition,

   because information from former personnel is not within Castle Hill’s possession, custody or

   control. Defendants object to the definition of Castle Hill as to include agents, representatives

   and consultants, because these terms are not defined and are imprecise, because they fail to

   sufficiently identify those persons who allegedly fall within the scope of the definition, and

   because information that may be in the possession of such persons is not necessarily within

   Castle Hill’s possession, custody or control. Defendants object to the definition of Castle Hill as

   to include attorneys, to the extent information in the possession of its current and former

   attorneys is protected from disclosure by the attorney client privilege and work-product doctrine.
Case 4:17-cv-00454-GKF-JFJ            Document 159-9 Filed in USDC ND/OK on 10/12/18                       Page 3
                                                of 5



                                  OBJECTIONS TO INSTRUCTIONS

           Castle Hill objects to Instruction No. 1 that Castle Hill include information from

   attorneys, experts, advisers, and agents. Any request for information from attorneys may include

   information protected from disclosure by the attorney-client privilege and work-product doctrine.

   Defendants object to the term “experts” to the extent the Interrogatories seek information beyond

   that permitted by applicable law and court rules. Defendants object to advisers and agents on the

   basis that these terms are not defined and are imprecise, because they fail to sufficiently identify

   those persons who allegedly fall within the scope of that definition, and because information that

   may be in the possession of such persons is not necessarily within Castle Hill’s possession,

   custody or control.

                    OBJECTIONS AND ANSWERS TO INTERROGATORIES

           INTERROGATORY NO. 23:                   For each of the CHG Games, identify, separately for

   each cabinet type used with the CHG Game (e.g., Retro 3-reel mechanical, Atlas 3-reel video)

   and for each quarter since CHG began operating to the present, the number of units sold, leased

   or licensed in the United States; the revenue received by CHG from such sales, leases, and

   licenses; all direct, indirect, variable, fixed, and overhead costs associated with each of the CHG

   Games that was incurred by CHG; and all gross, operating, pre-tax and net profits realized by

   CHG, directly or indirectly, for each of the CHG Games.

           RESPONSE: Castle Hill objects to this Interrogatory as overly broad and unduly

   burdensome. Castle Hill further objects to this interrogatory as vague and ambiguous, including to

   the extent that it seeks information for “each cabinet type used.” Castle Hill further objects to the

   Interrogatory as compound. The Interrogatory itself has three subparts, each of which counts as a

   separate interrogatory and therefore this Interrogatory (in addition to VGT’s First through Fifth sets



                                                      2
Case 4:17-cv-00454-GKF-JFJ           Document 159-9 Filed in USDC ND/OK on 10/12/18                   Page 4
                                               of 5



   of Interrogatories, many of which included interrogatories with numerous subparts) exceeds the total

   number permitted under Rule 33.

          Subject to and without waiver of the foregoing objections, Castle Hill states that it has

   already produced financial documents containing information responsive to this request regarding

   Castle Hill’s costs, revenues, and profits associated with its games. Those documents include, but

   are not limited to: tax returns for 2014 through 2016 (CHG0132958 – CHG0134085); a copy of

   Castle Hill’s balance sheet (CHG0120282 – CHG0120284); and, a copy of Castle Hill’s profit and

   loss statement (CHG0120285 – CHG0120290). Information regarding the financial performance of

   Castle Hill’s games is contained in the more than one thousand reports tracking game performance,

   including but not limited to the following documents: EGM performance reports (CHG012291 –

   CHG0122969); and reports regarding coin-in/coin-out numbers for Castle Hill’s games

   (CHG0120668 – CHG0122626). Pursuant to Rule 33(d), Castle Hill will produce additional

   documents from which the information sought in this Interrogatory may be readily derived or

   ascertained.



   Dated: June 25, 2018                           Respectfully submitted,


                                                  /s/ Robert C. Gill
                                                  Robert C. Gill (admitted pro hac vice)
                                                  Thomas S. Schaufelberger (admitted pro hac vice)
                                                  Henry A. Platt (admitted pro hac vice)
                                                  Matthew J. Antonelli (admitted pro hac vice)
                                                  SAUL EWING ARNSTEIN & LEHR, LLP
                                                  1919 Pennsylvania Avenue, NW, Suite 550
                                                  Washington, D.C. 20006
                                                  (202) 295-6605
                                                  (202) 295-6705 (facsimile)
                                                  robert.gill@saul.com
                                                  tschauf@saul.com
                                                  henry.platt@saul.com
                                                  matt.antonelli@saul.com

                                                  Sherry H. Flax (admitted pro hac vice)
                                                  SAUL EWING ARNSTEIN & LEHR, LLP
                                                  500 E. Pratt Street, Suite 900
                                                     3
Case 4:17-cv-00454-GKF-JFJ   Document 159-9 Filed in USDC ND/OK on 10/12/18   Page 5
                                       of 5


                                      Baltimore, Maryland 21202
                                      (410) 332-8764
                                      (410) 332-8785 (facsimile)
                                      sherry.flax@saul.com

                                      James C. Hodges, OBA #4254
                                      JAMES C. HODGES, P.C.
                                      2622 East 21st Street, Suite 4
                                      Tulsa, Oklahoma 74114
                                      (918) 779-7078
                                      (918) 770-9779 (facsimile)
                                      JHodges@HodgesLC.com


                                      Counsel for Defendants




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